Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 1 of 21 PageID #:18




                            Exhibit 1
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 2 of 21 PageID #:19
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 3 of 21 PageID #:20
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 4 of 21 PageID #:21
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 5 of 21 PageID #:22
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 6 of 21 PageID #:23
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 7 of 21 PageID #:24
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 8 of 21 PageID #:25
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 9 of 21 PageID #:26
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 10 of 21 PageID #:27
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 11 of 21 PageID #:28
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 12 of 21 PageID #:29
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 13 of 21 PageID #:30
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 14 of 21 PageID #:31
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 15 of 21 PageID #:32
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 16 of 21 PageID #:33
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 17 of 21 PageID #:34
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 18 of 21 PageID #:35
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 19 of 21 PageID #:36
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 20 of 21 PageID #:37
Case: 1:24-cv-04907 Document #: 1-1 Filed: 06/13/24 Page 21 of 21 PageID #:38
